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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

                            *
                            *
UNITED STATES OF AMERICA    * Criminal Nos. 20-cr-033 TDC
                            *               21-cr-205 TDC
     v.                     *
                            *
BRIAN MARK LEMLEY, JR..     *
PATRIK JORDAN MATHEWS, and  *
WILLIAM GARFIELD BILBROUGH, *
IV                          *
                            *
****************************************************

   BRIAN MARK LEMLEY, JR.’S PROPOSED SUR-REPLY TO GOVERNMENT’S
           REPLY TO LEMLEY’S SENTENCING MEMORANDUM

       The government’s reply (ECF No. 188-2) to Mr. Lemley’s responsive sentencing

memorandum (ECF No. 184) makes a number of legal errors. To begin, the government notes that

several courts have applied the U.S.S.G. § 3A1.4 enhancement to defendants who have not been

convicted of a crime enumerated in 18 U.S.C. § 2332b(g)(5)(B). But defendants in those cases did

not make the argument Mr. Lemley makes here about § 3A1.4’s validity, and the courts did not

address it. Those cases therefore have no persuasive value in deciding Mr. Lemley’s claim.

       In addition, the government claims no court has adopted Mr. Lemley’s view that § 3A1.4

is inconsistent with the 1996 Directive from Congress. That is wrong: the district court in United

States v. Arnaout, 282 F. Supp. 2d 838 (N.D. Ill. 2003), held § 3A1.4 invalid for the reasons Mr.

Lemley urges here. And although the Seventh Circuit ultimately reversed the district court, it did

so based on a clear misreading of the lower court’s order—which the government does not deny.

       Finally, the government errs by asserting § 3A1.4 is consistent with the 1996 Directive.

That directive instructed the Sentencing Commission to amend § 3A1.4 so it “only applies” to

federal crimes of terrorism, which are defined as offenses of conviction that are violations of
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statutes enumerated in § 2332b(g)(5)(B). The government’s reading of the directive—on which

§ 3A1.4 can apply not only when a defendant is convicted of an enumerated crime, but also when

he merely intends to promote one—would render the word “only” in the 1996 Directive

superfluous.

       The Court should decline to apply the § 3A1.4 enhancement.

I.     The Government’s Cited Cases Did Not Address or Decide Whether § 3A1.4, as
       Written, Is Consistent with the 1996 Directive.

       The government argues “[t]he Fourth Circuit, along with other courts, has applied the

§ 3A1.4 enhancement to a defendant who did not personally commit federal crimes of terrorism.”

ECF No. 188-2 at 1. Mr. Lemley does not deny that some courts have applied § 3A1.4 under such

circumstances. But in none of those cases did the defendant make the argument Mr. Lemley makes

here: that § 3A1.4, as written, is inconsistent with the 1996 Directive and therefore invalid. And

because defendants in those cases did not make that argument, the courts did not acknowledge,

address, or resolve it. See United States v. Benkahla, 530 F.3d 300, 311-13 (4th Cir. 2008); United

States v. Kobito, 994 F.3d 696, 700-03 (4th Cir. 2021); United States v. Hasson, No. 8:19-cr-96-

GJH (D. Md. 2020), ECF No. 100 (defense sentencing memorandum), No. 107 (defense response

to government sentencing memorandum), No. 116 (defense supplemental response to government

sentencing memorandum), No. 134 (sentencing transcript); United States v. Mandhai, 375 F.3d

1243, 1247-48 (11th Cir. 2004); United States v. Fidse, 862 F.3d 516, 521-27 (5th Cir. 2017).

       The Fourth Circuit has made clear that “judicial decisions do not stand as binding precedent

for points that were not raised, not argued, and hence not analyzed.” United States v. Norman, 935

F.3d 232, 240 (4th Cir. 2019). As the Fourth Circuit has explained, courts “often decide ‘particular

legal issues while assuming without deciding the validity of antecedent propositions, and such

assumptions . . . are not binding in future cases that directly raise the questions.’” Id. at 241


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(quoting United States v. Verdugo-Urquidez, 494 U.S. 259, 272 (1990)). The reason is simple: “an

unchallenged and untested assumption is simply not a holding that binds future courts.” Id. Thus

the cases the government cites in its proposed reply, including those from the Fourth Circuit, are

neither binding nor even persuasive on the question of § 3A1.4’s validity, which those courts did

not consider.

       The government acknowledges that the dissent in United States v. Graham, 275 F.3d 490

(6th Cir. 2001), adopted Mr. Lemley’s view of § 3A1.4, and that the majority “did not specifically

address [his] argument.” ECF No. 188-2 at 3 n.3. It asserts, however, that the majority “necessarily

rejected [Mr. Lemley’s argument] in affirming the sentence for conspiracy, notwithstanding the

dissenting judge’s opinion.” Id. But the Graham majority said nothing at all about § 3A1.4’s

consistency with the 1996 Directive, and this Court therefore has no way of knowing how the

majority would have decided that issue. And even if the Court assumes the majority rejected Mr.

Lemley’s position, the majority’s utter failure to explain its conclusion disentitles that conclusion

to any persuasive weight. A bare (implicit) legal conclusion, unsupported by analysis of any kind,

does nothing to rebut the arguments Mr. Lemley made in his response to the government’s

sentencing memorandum.

       Finally, the government claims a “district court in the Sixth Circuit recently rejected [Mr.

Lemley’s] precise argument” and applied the § 3A1.4 enhancement to a defendant who had not

been convicted of a crime enumerated in 18 U.S.C. § 2332b(g)(5)(B). ECF No. 188-2 at 2. That is

not true. The defendant in United States v. Doggart, No. 1:15-cr-39 (E.D. Tenn.), did not argue

§ 3A1.4 was inconsistent with the 1996 Directive. Instead, he argued that, “[e]ven assuming the

Sentencing Commission acted within its authority by promulgating [§ 3A1.4] so that it applies not

only to the specific offenses listed in § 2332b(g)(5), but also to unlisted offenses ‘involv[ing]’ or

‘intended to promote’ one of the statutorily listed crimes,” the enhancement was inapplicable in
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his case because his offense “neither involved nor was intended to promote a statutorily listed

crime.” Doggart, No. 1:15-cr-39, ECF No. 344 at 20. Doggart, therefore, does not support the

government’s position.

II.    The Government Erroneously Argues No Court Has Held § 3A1.4 Is Inconsistent with
       the 1996 Directive.

       The government argues “no court has agreed with [Mr. Lemley’s] position that § 3A1.4

applies only if the defendant himself is convicted of a federal crime of terrorism.” ECF No. 188-

2 at 3 (emphasis in original). That is inaccurate.

       As Mr. Lemley explained in his responsive memorandum, see ECF No. 184 at 17, the

district court in United States v. Arnaout, 282 F. Supp. 2d 838 (N.D. Ill. 2003), held § 3A1.4 is

invalid insofar as it applies to defendants not convicted of a crime enumerated in § 2332b(g)(5)(B).

Citing “the clear terms of § 2332b(g)(5),” the court concluded that § 3A1.4’s “enabling

legislation,” i.e., the 1996 Directive, “plainly preclude[s] application of the terrorism enhancement

to” offenses that are “not . . . enumerated in 18 U.S.C. § 2332b(g)(5).” Arnaout, 282 F. Supp. 2d

at 844-45. The court further noted that the final conference report to AEDPA directed the

Sentencing Commission to make § 3A1.4 “‘applicable only to those specifically listed federal

crimes of terrorism, upon conviction of those crimes.’” Id. at 844 (quoting 42 Cong. Rec. H.

3305–01, § 730) (emphasis in Arnaout). Thus the current § 3A1.4 “expand[s] application beyond

the congressional directive.” Id. But, under United States v. LaBonte, 520 U.S. 751 (1997), “the

Sentencing Commission lacks authority to preempt the specific directives of Congress.” Id. at 845.

As a result, the Arnaout court concluded, § 3A1.4 cannot validly apply where the defendant’s

offense of conviction “is not a federal crime of terrorism as defined by § 2332b(g)(5).” Id.

       Mr. Lemley recognized in his responsive memorandum that the Seventh Circuit reversed

the district court’s ruling in Arnaout. ECF No. 184 at 17 n.17. But he explained that the Seventh


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Circuit “misconstrued the district court’s order” and therefore addressed only the meaning of

§ 3A1.4 as written, without reaching the question of the enhancement’s validity.

       The Seventh Circuit’s error is plain from the language of its opinion, which focuses solely

on the meaning of § 3A1.4’s text as written. Again and again in its opinion, the appellate court

centered its analysis on how to construe the words that appear in § 3A1.4—not on whether those

words, properly construed, are consistent with Congress’ instructions in the 1996 Directive. See

United States v. Arnaout, 431 F.3d 994, 1001 (7th Cir. 2005) (“We review the district court’s

interpretation of the Guidelines de novo. Courts interpreting the Guidelines must begin with the

text of the provision and the plain meaning of the words in the text.” (emphasis added)); id. (“[T]he

district court gave meaning only to the word ‘involved,’ and ignored the words ‘or was intended

to promote.’ The Guidelines must be interpreted, however, so no words are discarded as

meaningless, redundant or surplusage.” (emphasis added)); id. (“This interpretation of the word

‘involved’ is also consistent with how the word is used throughout the Guidelines.” (emphasis

added)); id. at 1002 (“In interpreting the phrase ‘or was intended to promote,’ we find that the

district court erred by ignoring the plain, unambiguous text of the Guidelines.” (emphasis added));

id. (“Had the Guideline drafters intended that § 3A1.4 apply only where the defendant is convicted

of a crime listed in 18 U.S.C. § 2332b(g)(5)(B), they would have included such limiting language.”

(emphasis added)); id. (“As a result, the word ‘promote,’ as used in § 3A1.4, signifies that where

a defendant’s offense or relevant conduct helps or encourages a federal crime of terrorism as

defined in 18 U.S.C. § 2332b(g)(5)(B), then § 3A1.4 is triggered.” (emphasis added)); id. (“Under

a plain reading, the phrase ‘intended to promote’ means that if a goal or purpose was to bring or

help bring into being a crime listed in 18 U.S.C. § 2332b(g)(5)(B), the terrorism enhancement

applies.” (emphasis added)).



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       This analysis ignores the substance of the district court’s order. The district court’s LaBonte

ruling took it for granted that § 3A1.4, as written, purports to apply even to defendants who are

not convicted of a crime enumerated in § 2332b(g)(5)(B), but it further held that writing the

enhancement that way is prohibited by the 1996 Directive. The Seventh Circuit’s analysis—which

is concerned with the proper “interpretation of the Guidelines,” “the plain, unambiguous text of

the Guidelines,” and a “plain reading” of § 3A1.4—addresses only the former issue, to the

exclusion of the latter. Nowhere in its opinion does the Seventh Circuit cite LaBonte or even

acknowledge the notion that a guideline—crystal clear as its text may be—is invalid if it is

inconsistent with a congressional directive. Put simply, the Seventh Circuit in Arnaout misread the

district court’s order and therefore failed to address the argument Mr. Lemley raises here.

       The government does not dispute that the Seventh Circuit miscomprehended the district

court’s holding in Arnaout. See ECF No. 188-2 at 3. Instead, it simply observes that the district

court’s ruling was “reversed by the Seventh Circuit.” Id. (emphasis in original). But the

government does not explain why that reversal is persuasive notwithstanding the Seventh Circuit’s

obvious misunderstanding of the district court’s holding, and in light of its failure to engage with

the substance of the district court’s conclusion.

III.   The § 3A1.4 Enhancement, as Written, Conflicts with the 1996 Directive.

       The government makes two arguments that § 3A1.4, as drafted by the Sentencing

Commission and interpreted by the Fourth Circuit, is consistent with the 1996 Directive. Neither

argument is persuasive.

       First, the government contends that in passing the 1996 Directive, Congress “said nothing

about restricting application of the enhancement only to offenses of conviction listed in

§ 2332b(g).” ECF No. 188-2 at 4 (emphasis in original). This argument ignores the 1996

Directive’s plain language.

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        The 1996 Directive ordered the Commission to amend § 3A1.4 so that it “only applies to

Federal crimes of terrorism, as defined in section 2332b(g) of title 18.” Pub. L. No. 104-132, § 730,

110 Stat. 1214. Under § 2332b(g)(5), a federal crime of terrorism means “an offense” that “is a

violation of” certain enumerated statutes. Mr. Lemley explained in his responsive memorandum—

and the government does not dispute—that when used in Title 18, the word “offense” means the

crime of which a defendant is convicted. See, e.g., 18 U.S.C. § 751(a) (“Whoever escapes or

attempts to escape from the custody of the Attorney General or his authorized representative . . .

shall, if the custody or confinement is by virtue of . . . conviction of any offense, be fined under

this title or imprisoned not more than five years, or both.” (emphasis added)); 18 U.S.C. § 3554

(“The court, in imposing a sentence on a defendant who has been found guilty of an offense

described in [certain statutes] shall order, in addition to the sentence that is imposed pursuant to

the provisions of section 3551, that the defendant forfeit property to the United States in

accordance with the provisions of [certain statutes].” (emphasis added)); 18 U.S.C. § 3555

(authorizing district court to order defendant to give notice to victims when “imposing a sentence

on a defendant who has been found guilty of an offense involving fraud or other intentionally

deceptive practices” (emphasis added)); 18 U.S.C. § 3571(a) (“A defendant who has been found

guilty of an offense may be sentenced to pay a fine.”); see also ECF No. 184 at 14 (citing other

statutes).

        Accordingly, when Congress wrote that § 3A1.4 should “only appl[y]” to a Title 18

“offense” that “is a violation of” a statute enumerated § 2332b(g)(B)(5), it was directing the

Commission to “restrict application of the enhancement only to offenses of conviction listed in

§ 2332b(g)(5)(B).” ECF No. 188-2 at 4. Any other reading of the 1996 Directive would impose on

the word “offense” a meaning wholly foreign to Title 18.



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       For this reason, the text of the 1996 Directive is clear. But even if it could somehow be

characterized as ambiguous, legislative history would dispel the ambiguity. In the final conference

report for AEDPA, the conference committee explained that, following the 1996 Directive,

§ 3A1.4 would be “applicable only to those specifically listed federal crimes of terrorism, upon

conviction of those crimes.” 142 Cong. Rec. H. 3337 (1996), 1996 WL 174947 (emphasis added).

There is only one permissible reading of this definitive legislative history, and the government

offers no reason to disregard it, choosing instead to simply ignore the conference report’s

unambiguous statement of congressional intent.

       Second, the government argues Mr. Lemley reads the word “only” in the 1996 Directive

“out of context.” ECF No. 188-2 at 2. According to the government, it is perfectly consistent to

simultaneously (1) “requir[e] that the enhancement apply ‘only’ to federal crimes of terrorism,”

and (2) “allow the enhancement to apply whenever the offense involves or promotes such a crime,

regardless of whether it is the offense of conviction.” Id. But this interpretation reads the word

“only” out of the 1996 Directive.

       The 1994 Directive instructed the Commission to promulgate an enhancement “for any

felony, whether committed within or outside the United States, that involves or is intended to

promote international terrorism.” Pub. L. No. 103–322, § 120004, 108 Stat. 1796, 2022. In the

1996 Directive, however, Congress removed the reference to “international terrorism” and

replaced it with the term “federal crime of terrorism.” As numerous courts have recognized, the

change from “international terrorism” to “federal crime of terrorism” was intended to expand the

number of crimes to which the enhancement would apply. See United States v. Garey, 546 F.3d

1359, 1362 n.3 (11th Cir. 2008) (“[The 1996 Directive] required the Commission to amend the

Sentencing Guidelines so that the adjustment in § 3A1.4 (formerly relating to ‘international

terrorism’) applied more broadly to ‘federal crimes of terrorism.’” (emphasis added)); United
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States v. Salim, 287 F. Supp. 2d 250, 349 (S.D.N.Y. 2003) (“Congress intended to broaden the

application of a terrorism enhancement beyond only acts of ‘international terrorism,’ by applying

the terrorism enhancement to . . . offenses for which conduct occurred ‘outside of the United States

in addition to the conduct occurring in the United States.’” (emphasis added)); Arnaout, 282 F.

Supp. 2d at 843 (“The amendment responded to a congressional directive that the existing

international terrorism guideline be defined more broadly to include only federal crimes of

terrorism.” (emphasis added and omitted)); see also 186 A.L.R. Fed. 147, § 2[a] (2003).

       The Commission took the same view. In the Reason for Amendment accompanying the

new § 3A1.4, the Commission wrote that the 1996 Directive “require[d] the Commission to amend

the sentencing guidelines so that the adjustment in § 3A1.4 (relating to international terrorism)

applies more broadly to a ‘Federal crime of terrorism.’” U.S.S.G. App. C, amends. 539 (Nov. 1,

1996), 565 (Nov. 1, 1997) (emphasis added). And even the government concedes “federal crime

of terrorism” is broader than “international terrorism.” See ECF No. 188-2 at 5 (“Thus, § 3A1.4

was expanded beyond just international terrorism to include all federal crimes of terrorism, which

included different types of conduct in different locations than just international terrorism.”). The

switch to a more capacious category of predicate crimes explains why the AEDPA final conference

report says the 1996 Directive was meant to “expand the scope” of § 3A1.4. 1996 WL 174947.

       But if “federal crime of terrorism” is broader than “international terrorism,” the word

“only” in the 1996 Directive cannot be describing the category of crimes covered by the

enhancement. It would make no sense to direct that § 3A1.4 “only applies to Federal crimes of

terrorism” if that category of crimes is more expansive than the category it is replacing. On the

government’s interpretation of the 1996 Directive, the word “only” does no work. That cannot be

right. See Nero v. Mosby, 890 F.3d 106 (4th Cir. 2018) (“When we interpret statutes, we must



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construe all parts to have meaning and avoid interpretations that would turn some statutory terms

into nothing more than surplusage.”).

       The word “only,” therefore, must be referring to something else: the circumstances under

which a predicate crime triggers the enhancement. Rather than applying whenever a defendant

merely “intends to promote” a federal crime of terrorism, the post-1996 enhancement is supposed

to “only appl[y]” to a Title 18 “offense” that “is a violation of” a statute enumerated in

§ 2332b(g)(5)(B)—i.e., when a defendant is convicted of a § 2332b(g)(5)(B) crime. Contrary to

the government’s argument, therefore, it is in fact inconsistent to both (1) require that § 3A1.4

“only appl[y]” to federal crimes of terrorism, and also (2) apply the enhancement to defendants

who merely intend to promote, but are not convicted of, a crime enumerated in § 2332b(g)(5)(B).

IV.    Conclusion

       For the reasons described above and in Mr. Lemley’s responsive sentencing memorandum,

the Court should decline to apply the enhancement at U.S.S.G. § 3A1.4.



                                            Respectfully submitted,

                                            JAMES WYDA
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